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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9    KAREN D. SMITH,                                     CASE NO. C19-0538-JCC
10                           Plaintiff,                   MINUTE ORDER
11            v.

12    BANK OF NEW YORK MELLON, et al.,

13                           Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court sua sponte. Plaintiff filed her motion to strike
18   affirmative defenses on September 5, 2019. (Dkt. No. 49.) Plaintiff filed her motion for partial
19   summary judgment on September 23, 2019. (Dkt. No. 53.) The Clerk is DIRECTED to renote
20   Plaintiff’s motion to strike affirmative defenses (Dkt. No. 49) to October 18, 2019. See W.D.
21   Wash. Local Civ. R. 7(l).
22          DATED this 22nd day of October 2019.
23                                                          William M. McCool
                                                            Clerk of Court
24

25                                                          s/Tomas Hernandez
                                                            Deputy Clerk
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